Case 1:21-cr-00117-RCL Document 168-22 Filed 09/30/22 Page 1 of 4

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Case 1:21-cr-00117-RCL Document 168-22 Filed 09/30/22 Page 2 of 4

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Case 1:21-cr-00117-RCL Document 168-22 Filed 09/30/22 Page 3 of 4

Q)

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Case 1:21-cr-00117-RCL Document 168-22 Filed 09/30/22 Page 4 of 4

6)

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